Case 2:10-cv-10346-AC-MKM ECF No. 56-1, PageID.2004 Filed 02/23/11 Page 1 of 7
Case 2:10-cv-10346-AC-MKM ECF No. 56-1, PageID.2005 Filed 02/23/11 Page 2 of 7
Case 2:10-cv-10346-AC-MKM ECF No. 56-1, PageID.2006 Filed 02/23/11 Page 3 of 7
Case 2:10-cv-10346-AC-MKM ECF No. 56-1, PageID.2007 Filed 02/23/11 Page 4 of 7
Case 2:10-cv-10346-AC-MKM ECF No. 56-1, PageID.2008 Filed 02/23/11 Page 5 of 7
Case 2:10-cv-10346-AC-MKM ECF No. 56-1, PageID.2009 Filed 02/23/11 Page 6 of 7
Case 2:10-cv-10346-AC-MKM ECF No. 56-1, PageID.2010 Filed 02/23/11 Page 7 of 7
